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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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11     ROBERT P. GRIFFIN, an Individual; )
                                          )                Case No.2:16-cv-00124 MWF (RAOx)
12                                        )                Assigned: Hon. Michael W. Fitzgerald
            Plaintiff,                    )
13                                        )
            vs.                           )
14                                        )                ORDER OF DISMISSAL WITH
       EXPERIAN INFORMATION               )                PREJUDICE OF DEFENDANT
15     SOLUTIONS INC, is a corporation;   )                WILSHIRE CREDIT CORP
       BANK OF AMERICA, is a corporation; )
16     WILSHIRE CREDIT CORP, an           )
       unknown business entity form       )
17     unknown, and DOES 1-15, Inclusive, )
                                          )
18          Defendants.                   )
                                          )
19                                        )
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                                          )
21                                        )
                                          )
22
23           Plaintiff Robert P. Griffin has announced to the Court that all matters in
24     controversy between him and Defendant Wilshire Credit Corp have been resolved.
25           A Stipulation of Dismissal with Prejudice has been signed and filed with the
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       Court. Having considered the Stipulation of Dismissal with Prejudice, the Court
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       makes and delivers the following ruling:
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                                                        1
                     ORDER re: Stipulation of Dismissal With Prejudice of Wilshire Credit Corp
     Case 2:16-cv-00124-MWF-RAO Document 41 Filed 01/04/17 Page 2 of 2 Page ID #:191




1            IT IS ORDERED that the claims and causes of action asserted herein by

2      Plaintiff Robert P. Griffin against Defendant Wilshire Credit Corp are dismissed
3      with prejudice.
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5      DATED this 4th day of January, 2017.
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8                                                    __________________________
9                                                    MICHAEL W. FITZGERALD
10                                                   UNITED STATES DISTRICT JUDGE
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                     ORDER re: Stipulation of Dismissal With Prejudice of Wilshire Credit Corp
